Case 11-42594-JKO Doci1

B1 (Official Form 1) (4/10)
UNITED STATES BANKRUPTCY COURT

Southern District of Florida

Filed 11/28/11 Page 1of6

 

Name of Debtor (if individual, enter Last, First, Middle):
JAIME MURIEL

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer 1.D. (ITIN)/Complete EIN
a qa than one, state all):

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all):

 

Street Address of Debtor (No. and Street, City, and State):
17825 NW 15 STREET, PEMBROKE PINES, FLORIDA

[ZIP CODE 33029 |

Street Address of Joint Debtor (No. and Street, City, and State):

IP CODE

 

BRO of Residence or of the Principal Place of Business:
WARD

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):

 

[zip CODE ]

Mailing Address of Joint Debtor (if different from street address):

[ZIP CODE |

 

Location of Principal Assets of Business Debtor (if different from street address above):

ip cope]

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
O1_ Health Care Business Chapter 7 C1 Chapter 15 Petition for
MW] Individual (includes Joint Debtors) C1 __sSingle Asset Real Estate as defined in | (] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101(51B) 1 Chapter 11 Main Proceeding
(1 Corporation (includes LLC and LLP) Ol_sRailroad Ol Chapter 12 Chapter 15 Petition for
1 Partnership 0 Stockbroker Ol Chapter 13 Recognition of a Foreign
(1 Other (If debtor is not one of the above entities, | ] Commodity Broker Nonmain Proceeding
check this box and state type of entity below.) Clearing Bank
Other Nature of Debts
(Check one box.)

 

 

 

Tax-Exempt Entity
(Check box, if applicable.)

1 Debtor is a tax-exempt organization
under Title 26 of the United States
Code (the Internal Revenue Code).

C1 Debts are primarily
business debts.

[VJ] Debts are primarily consumer
debts, defined in 11 U.S.C.
§ 101(8) as “incurred by an
individual primarily fora
personal, family, or house-
hold purpose.”

 

 

Filing Fee (Check one box.)

8

Full Filing Fee attached.

O

Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court’s consideration. See Official Form 3B.

 

Chapter 11 Debtors
Check one box:
(C1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
(]_ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Check if:

C1 _Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
on 4/01/13 and every three years thereafter).

Check all applicable boxes:

C1 A plan is being filed with this petition.

(1 Acceptances of the plan were solicited prepetition from one or more classes

 

 

 

 

 

 

 

of creditors, in accordance with 11 U.S.C. § 1126(b). “) _.
Statistical/Ad ministrative Information THIS SPACPIS FQR-
COUpr use ONLY
O Debtor estimates that funds will be available for distribution to unsecured creditors. _ ae fos
O Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for“ rn ES _ a<
distribution to unsecured creditors. < “s ‘e a
Estimated Number of Creditors Cte ~
Oo O Oo Oo Oo Oo Oo o Oc sp 7m. Y
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over *_, - oO
5,006 10,000 25,000 50,000 100,000 100,000......f + -= \
Estimated Assets oy wo
Oo o o Oo Oo o 5 Ne
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,00L $500,000,001 Morethan |- 2 \
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million
Estimated Liabilities
oO O O O oO O
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million

 

 

  

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B1 (Official Form 1) (4/10) Page 2
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case.)
. All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Case Number: Date Filed:
Where Filed:
Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
District: + : Relationship: Judge:
Southern District of Florida ClanonsmP meee
Exhibit A Exhibit B
(To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q) whose debts are primarily consumer debts.)
with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attorney for the petitioner named in the foregoing petition, declare that I

have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
or 13 of title 11, United States Code, and have explained the relief available under
each such chapter. I further certify that I have delivered to the debtor the notice
required by 11 U.S.C. § 342(b).

(1 _ Exhibit A is attached and made a part of this petition. Xx

 

 

Signature of Attorney for Debtor(s) (Date)

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

(_ Yes, and Exhibit C is attached and made a part of this petition.

wi No.

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
wv Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

(1 Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)
vi Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

O There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
oO Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has

No principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

oO Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

O Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

O Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
of the petition.

O Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 

 

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Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

{If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs the petition] I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

 

 

 

 

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is
true and correct, that I am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)

(I request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

C1 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

 

 

 

x x
fature of Debtor / ! (Signature of Foreign Representative)

x

Signature of Joint Debtor (Printed Name of Foreign Representative)

Sey Numper Gifraog ri a” attorney)

£ ¥ = is SOF Date
Dae _t{-27— jh
Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer

XxX I declare under penalty of perjury that: (1) 1 am a bankruptcy petition preparer as

 

Signature of Attorney for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

 

 

Address

 

Telephone Number

 

Date

*In a case in which § 707(b)(4{D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to I1 U.S.C. § 110(h) setting a
maximum fee for services chargeable by bankruptcy petition preparers, I have given
the debtor notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that section.
Official Form 19 is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an
individual, state the Social-Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer.) (Required
by 11 U.S.C. § 110.)

 

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

X

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

Address

 

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person,
or partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 

 

 
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B 1D (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY COURT

Southern District of Florida

In re JAIME MURIEL Case No.
Debtor (if known)

 

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case Jater, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

1. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

(2. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/09) — Cont. Page 2

3. I certify that | requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time | made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

 

 

I attempted to obtain credit counseling prior to my Chapter 7 petition Filing, I was unable to obtain same due to
exigent circumstances. Specifically, my house will be sold tomorrow at a foreclosure sale and therefore I need
Additional time to obtain the credit counseling, Additionally, [ have been suffering from extreme financial
hardship and have not had The funds and the time to obtain the credit counseling but will do so after I file the
Petition.. Therefore, I need the Court to excuse the Credit Counseling and accept my Chapter 7 Petition and
allow me to obtain said counseling following the the filing of this petition.

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

 

(1 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

CM Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities.);

[1 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the i
extent of being unable, after reasonable effort, to participate in a credit counseling ;
briefing in person, by telephone, or through the Internet.);

[1 Active military duty in a military combat zone.

15. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

 

 

I certify under penalty of perjury that the information provided above is true and

correct.
Signature of pepo Maeet (A, /
va —J 7

Date: i-2&-I(
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MAILING LIST OF CREDITORS

Law Offices of Marshal C. Watson, P.A.
1800 N.W. 49 STREET, Suite 120
Fort Lauderdale, Fl, 33309

Bank Atlantic
2100 West Cypress Creek Road
Fort Lauderdale, FL, 33309

City Bank
P.O. Box 769013
San Antonio, TX, 78245-9013

Wells Fargo
P.O.Box 40031
Roanoke, VA, 24022-0031

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